Case 1:21-cv-00410-LPS Document 3 Filed 04/26/21 Page 1 of 1 PagelD #: 34

UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE

ALEX SANCHEZ, )
. )

Plaintiff, ) Case No.: 1:21-cv-00410-LPS
)
Vv. )
THE MICHAELS COMPANIES, INC., )

ASHLEY BUCHANAN, MARK S. COSBY, ) JURY TRIAL DEMANDED

JOSHUA BEKENSTEIN, RYAN COTTON, _ )
MONTE E. FORD, KAREN KAPLAN, )
MATTHEW S. LEVIN, JOHN J. J
MAHONEY, JAMES A. QUELLA, and
BERYL B. RAFF,
Defendants.

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants
have neither served an answer or a motion for summary judgment in the Action.
Dated: April 26, 2021 LONG LAW, LLC
By: /s/ Brian D. Long
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